              Case 3:14-cr-03180-DMS                           Document 90                  Filed 04/03/15            PageID.320               Page 1 of 2
     'QAO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
               Sheet I



                                                   UNITED STATES DISTRICT COU]~JT~ WR -·3 P~112: 31
                                                         SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                              "_~-;,   t,>   (j;'~iL;:~f cOt!HT
                       UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAI/(:A~f'OlIt<lA
                                                                                                                                             om'IlY
                                             v.                                                (For Offenses Committed On,Of After November 1,'Ig~7)

              FRANCISCO ANDRES NUNEZ-SALAZAR (3)                                               Case Number: 14CR3180-DMS
                                                                                               Gerardo A Gonzalez CJA
                                                                                               Defendant's Attorney
     REGISTRATION NO. 42599298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) I of the Superseding Information

     o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                          Count
     Title & Section                              Nature of Offense                                                                                      Number(s)
18 USC 1001                                FALSE STATEMENT TO A FEDERAL OFFICER                                                                           IS




        The defendant is sentenced as provided in pages 2 through                          2          of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

 'Xl
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     Count(s).          d I' I '                            .       ----------------------------------------------
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            -'1:::nc.:u:::n.::;e"'r"'y.::.m.:=g=n::'o:::rm=at:::l0::;n~_ _ _ _ _ _ _ _ _ _ _ _ is L!5J
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                                                                                                                 f h Untte
                                                                                                                       . d States.
                                                                                                                              t

 181 Assessment: $100.00 ordered waived.

 181 Fine waived                                          o    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                        HON. DANA M. SABRA W
                                                                                        UNITED STATES DISTRICT JUDGE



                                                                                                                                                            14CR3I 80-DMS
       Case 3:14-cr-03180-DMS                     Document 90         Filed 04/03/15     PageID.321            Page 2 of 2
AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                             Judgment - Page   __2=-_ of     2
DEFENDANT: FRANCISCO ANDRES NUNEZ-SALAZAR (3)
CASE NUMBER: 14CR3180-DMS
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
        TIME SERVED.



    D Sentence imposed pursuant to Title 8 USC Section J326(b).
    D The court makes the following recommendations to the Bureau of Prisons:




    D The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
           D at                                   Da.m.     Dp.m.         on
              as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       D befure _________________________________________________________________

         D    as notified by the United States Marshal.
         D    as notified by the Probation or Pretrial Services Office.


                                                               RETURN

I have executed this judgment as follows:

        Defendant delivered on                                                 to

at ________________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL

                                                                     By ______________----------------------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                    14CR3180-DMS
